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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SECURITIES AND EXCHANGE                       CASE NO. 11-CV-00078 (JBA)
COMMISSION,
                   Plaintiff,
v.

FRANCISCO ILLARRAMENDI, HIGHVIEW
POINT PARTNERS, LLC and MICHAEL
KENWOOD CAPITAL MANAGEMENT,
LLC,
                    Defendants,               ELEVENTH INTERIM APPLICATION
                                              FOR FEES AND EXPENSES BY THE
and                                           RECEIVER AND HIS ADVISERS AND
                                              MOTION FOR AN ORDER
HIGHVIEW POINT MASTER FUND, LTD.,             AUTHORIZING RECEIVER TO
HIGHVIEW POINT OFFSHORE, LTD.,                RELEASE THE REMAINING
HIGHVIEW POINT LP,                            HOLDBACK
MICHAEL KENWOOD ASSET
MANAGEMENT, LLC, MK ENERGY AND
INFRASTRUCTURE, LLC, and MKEI
SOLAR, LP,
                   Relief Defendants.



                                              December 20, 2019




                                        John J. Carney, Esq. Receiver
                                        And
                                        BAKER & HOSTETLER LLP
                                        45 Rockefeller Plaza
                                        New York, NY 10111
                                        Telephone: 212-589-4200
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TO:        THE HONORABLE JANET B. ARTERTON
           UNITED STATES DISTRICT JUDGE

           John J. Carney, Esq., Court-Appointed Receiver for Highview Point Partners, LLC; The

Michael Kenwood Group, LLC; Michael Kenwood Capital Management, LLC; Michael

Kenwood Asset Management, LLC; MK Energy and Infrastructure, LLC; MKEI Solar, LP; MK

Automotive, LLC; MK Technology, LLC; Michael Kenwood Consulting, LLC; MK

International Advisory Services, LLC; MKGAtlantic Investment, LLC; Michael Kenwood

Nuclear Energy, LLC; MyTcart, LLC; TUOL, LLC; MKCM Merger Sub, LLC; MK Special

Opportunity Fund, Ltd.; MK Venezuela Fund, Ltd.; Short Term Liquidity Fund, I, Ltd.; MK

Master Investments, LP; MK Investments, Ltd.; MK Oil Ventures, LLC; Highview Point Master

Fund, Ltd.; Highview Point Offshore, Ltd.; and Highview Point LP (collectively, the

“Receivership Entities”), and Baker & Hostetler LLP (“B&H”), as counsel for the Receiver,

hereby submit this Application for allowance of compensation and reimbursement of expenses

incurred by the Receiver, B&H, FTI Consulting, Inc. (“FTI”), accountants for the Receiver, and

Higgs & Johnson (“H&J”), Cayman Islands counsel for the Receiver, during the period from

July 1, 2018 through September 30, 2019 (the “Compensation Period”)1.

           The Receiver also respectfully submits this motion for an order authorizing the Receiver

to immediately release 85% of the currently remaining holdback that was applied to fees and

expenses incurred by B&H, and FTI in the amounts of $924,164 and $795,296 respectively, and

100% of the currently-remaining holdback that was applied to the fees and expenses incurred by

H&J in the amount of $2,668.

           The Receiver has recovered approximately $445.5 million and distributed more than

$330 million to claimants and thus, except as detailed in this fee application, the Receiver’s work

1
    Capitalized terms are used as they are defined in the Receiver Order and prior fee applications.


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is largely complete and he believes it is appropriate for the Court to release the holdback at this

time. In recognition of the public service nature of the engagement, the Receiver and FTI have

both agreed to voluntarily reduce, and not seek payment of, 15% of the remaining holdback

resulting in a combined additional savings to the Receivership Estate of $303,434. This savings

is in addition to the millions of dollars of rate discounts, voluntary write-offs and deductions

taken by the Receiver and his retained professionals throughout the Receivership. As the work

of the Receivership is close to complete, the Receiver also respectfully seeks an order from the

Court that this fee application and any future fee application no longer be subject to any

holdback.    The Receiver has conferred with counsel for the Securities and Exchange

Commission (the “SEC”) and they consent to this motion and the relief sought herein.

                                  THE FEE APPLICATION

     SUMMARY OF PROFESSIONAL FEES AND REIMBURSEMENT OF EXPENSES
                             REQUESTED

       1.      This Application has been prepared in accordance with the Billing Instructions for

Receivers in Civil Actions Commenced by the U.S. Securities and Exchange Commission (the

“SEC Guidelines”).

       2.      Pursuant to the Initial Receiver Order dated February 3, 2011, upon motion of the

SEC, the Court appointed John J. Carney, Esq. the Receiver over all assets “under the direct or

indirect control” of Defendant MKCM, LLC and Relief Defendants, MKAM, LLC, MK Energy

and Infrastructure, LLC, and MKEI Solar, LP.

       3.      On March 1, 2011, June 22, 2011, and January 4, 2012, this Court entered

Amended Orders Appointing the Receiver (“Amended Receiver Orders”), adding entities to the

Receivership and changing certain reporting requirements.



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        4.       On March 1, 2013, this Court entered an Amended and Restated Order

Appointing Receiver (the “Receiver Order”) in connection with the Highview Point Settlement.

The Receiver Order supersedes the Initial Receiver Order and the Amended Receiver Orders.

        5.       The Receiver and B&H attorneys and paraprofessionals have expended 329 hours

working on this matter during the fifteen-month Compensation Period. The Receiver and B&H

seek allowance of compensation for services rendered during the Compensation Period with

respect to the Receivership Estate in the amount of $186,471 and reimbursement of actual and

necessary expenses in the amount of $16,088.2

        6.       The Receiver retained FTI as the forensic accountants for the Receivership Estate.

FTI professionals expended a total of 63 hours working on this matter during the Compensation

Period, and seek allowance of compensation for services rendered in the amount of $20,364.

        7.       The Receiver retained H&J, a Cayman Islands-based law firm, to assist in legal

matters related to the Cayman Islands.            H&J professionals seek an allowance for services

rendered in the amount of $16,602 and reimbursement of actual and necessary expenses in the

amount of $22.

        8.       The SEC has orally informed the Receiver that they have no objection to this

application and will be filing a response pursuant to the Court’s Order dated January 16, 2014.

(Dkt. No. 817.)

    A. Standardized Deductions and Discounts




2
  The amounts sought reflect significant discounts from the cost of the work performed, as the Receiver and FTI
took significant additional voluntary reductions on top of those negotiated and agreed to at the time of the
Receiver’s appointment. The amount of these discounts and reductions is set forth in Paragraphs 11 through 14.


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           9.       At the time of the Receiver’s appointment, the Receiver, B&H, FTI and H&J

agreed to several additional reductions and discounts beyond those specified in the SEC

Guidelines:

                 a. The Receiver and B&H agreed to a capped hourly rate of $495 for the Receiver
                    and for partner Patrick Hannon, a significant discount from their standard billing
                    rates. The Receiver and B&H also agreed, at the time of their appointment, to an
                    18% reduction in the hourly rates of all New York-based B&H attorneys and
                    paraprofessionals.

                 b. At the time of FTI’s appointment, FTI agreed to a capped hourly rate of $495 for
                    Phil Daddona, a significant discount from his standard billing rate. FTI also
                    agreed, at the time of its appointment, to an 18% reduction in the hourly rates of
                    all of its professionals.

                 c. At the time of H&J’s appointment, H&J also agreed to an 18% reduction in the
                    hourly rates of all of its professionals. The H&J invoices reflect that discount.

           10.      Pursuant to the SEC Guidelines, B&H, FTI and H&J seek reimbursement only for

the actual costs of their expenses. B&H, FTI and H&J have not included the amortization of any

investment, equipment or capital outlay in any request for expense reimbursement. B&H, FTI

and H&J have not sought reimbursement for any travel expenses during the Compensation

Period including mileage, taxis or car service.3 Nor does B&H, FTI or H&J seek the

reimbursement of overtime meals, secretarial time, word processing, proofreading or document

preparation expenses (other than by professionals or paraprofessionals), data processing and

other staff services (exclusive of paraprofessional services) or clerical overtime.

      B. Cost Savings to the Estate

           11.      In total, the Receiver and B&H seek $186,471 in fees and $16,088 in expenses.

B&H recognizes the public service nature of the engagement, and accordingly has discounted all

New York-based professionals’ and paraprofessionals’ rates by 18%. In the Compensation


3
    There was no reimbursable travel billed by B&H, FTI or H&J during the Compensation Period.


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Period, the Receiver and B&H provided combined discounts and additional credits totaling

approximately $53,374 in relation to their standard fees and expenses.

       12.      In total, FTI seeks $20,364 in fees. FTI recognized the public service nature of

the engagement, and accordingly discounted all of its professionals’ and paraprofessionals’ rates.

In the Compensation Period, FTI provided combined discounts and credits of $25,442 in relation

to its standard fees and expenses.

       13.      H&J seeks $16,602 in fees and $22 in expenses for this Compensation Period.

H&J recognized the public service nature of the engagement, and accordingly discounted all of

its professionals’ and paraprofessionals’ rates by 18%.

       14.      Accordingly, these discounts and credits have collectively saved the Estate

approximately $82,461 in the Compensation Period when compared to B&H’s, FTI’s and H&J’s

standard billing rates and standard practices for charging expenses.

       15.      Pursuant to the SEC Guidelines, the following exhibits are attached:

             a. a Certification regarding compliance by the Receiver and B&H with the SEC
                Guidelines (attached as Exhibit A);

             b. a Certification regarding compliance by FTI with the SEC Guidelines (attached as
                Exhibit B);

             c. a Certification regarding compliance by H&J with the SEC Guidelines (attached
                as Exhibit C);

             d. a Fee Schedule setting forth all B&H professionals and paraprofessionals who
                have performed services in this case during the Compensation Period, the capacity
                in which each individual is employed by B&H, each individual’s customary
                hourly billing rate; the hourly billing rate charged by B&H for services performed
                by each individual, the aggregate number of hours expended in this matter, and
                the fees billed (attached as Exhibit D);

             e. a Fee Schedule setting forth all FTI professionals and paraprofessionals who have
                performed services in this case during the Compensation Period, the capacity in
                which each individual is employed by FTI, each individual’s customary hourly
                billing rate; the hourly billing rate charged by FTI for services performed by each


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                individual, the aggregate number of hours expended in this matter, and the fees
                billed (attached as Exhibit E);

             f. a Fee Schedule setting forth all H&J professionals and paraprofessionals who
                have performed services in this case during the Compensation Period, the capacity
                in which each individual is employed, each individual’s customary hourly billing
                rate; the hourly billing rate charged by H&J for services performed by each
                individual, the aggregate number of hours expended in this matter, and the fees
                billed (attached as Exhibit F);

             g. a schedule specifying the categories of expenses for which the Receiver and B&H
                seek reimbursement, and the total amount for each such expense category
                (attached as Exhibit G);

             h. a schedule specifying the categories of expenses for which H&J seek
                reimbursement, and the total amount for each such expense category (attached as
                Exhibit H);

             i. all B&H time records billed during the Compensation Period by activity
                categories and a description of the services rendered, arranged in chronological
                order with respect to each category, and filed under seal to protect privileged,
                confidential and/or sensitive information (attached as Exhibit I);

             j. all FTI time records billed during the Compensation Period by activity categories
                and a description of the services rendered, arranged in chronological order with
                respect to each category, and filed under seal to protect privileged, confidential
                and/or sensitive information (attached as Exhibit J); and

             k. all H&J time records billed during the Compensation Period with a description of
                the services rendered, arranged in chronological order, and filed under seal to
                protect privileged, confidential and/or sensitive information (attached as Exhibit
                K).

       16.      This is the Receiver’s Eleventh Application for fees and expenses. The Court

approved the fees and expenses sought in the First through Tenth Applications by the Receiver,

B&H, FTI, and H&J (where sought) minus the holdback of both fees and expenses.

       17.      At least 30 days before this and previous fee applications were filed, the Receiver

provided the SEC with copies of the B&H, FTI and H&J detailed time records for their review

and consent.




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           18.      The fees and expenses for which payment is sought were incurred in connection

with the discharge of the Receiver’s duties as specified in the Amended Receiver Order. We

believe that the charges are necessary and appropriate, and that the Receiver’s efforts have

resulted in a significant benefit to the Receivership Estate, as set forth in Paragraphs 21 through

33, infra.

                                                    BACKGROUND4

           19.      On February 3, 2011, the Court appointed John J. Carney, Esq. as Receiver over

all assets “under the direct or indirect control” of Defendant Michael Kenwood Capital

Management, LLC and Relief Defendants Michael Kenwood Asset Management, LLC, MK

Energy and Infrastructure, LLC, and MKEI Solar, LP.

           20.      On March 1, 2013, the Court entered the Receiver Order in connection with the

Highview Point Settlement. The Receiver Order incorporated and restated all of the Receiver’s

duties and powers, and expanded the Receivership to include the Highview Point Funds.

                  SUMMARY OF STEPS TAKEN BY THE RECEIVER DURING THE
                       COMPENSATION PERIOD & CURRENT STATUS

           The bulk of the work performed during the Compensation Period relates to the

disposition of remaining Receivership assets and litigation concerning various motions and an

appeal brought by Francisco Illarramendi. During the Compensation Period, Illarramendi filed

and the Receiver briefed an appeal to the Second Circuit as detailed below. In addition, the

Receiver continued the wind-down of the remaining Receivership Entities both in the U.S. and

abroad and managed and liquidated the remaining Receivership assets. The Receivership Estate

still controls certain private equity interests, securities and other assets. Much of the remaining


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    Prior proceedings are described in more detail in the previous fee applications.


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work for the Receivership consists of the orderly wind-down of the various Receivership entities

and the continued monitoring and management of the remaining assets.               All litigation

commenced by the Receiver has been concluded, including the litigation commenced against

Illarramendi that resulted in a final judgment against him in the amount of $25,013,716. The

Supreme Court denied Illarramendi’s petition for certiorari on December 9, 2019.

       The sole remaining Receivership claimant, PDVSA, the national oil company of

Venezuela, is currently sanctioned by the Office of Foreign Asset Controls (“OFAC”). These

sanctions prevent the Receiver from making cash distributions to PDVSA in accordance with the

Distribution Plan. As detailed below, the Receiver has sought a license from OFAC permitting

distributions to PDVSA in accordance with the Distribution Plan. That application is currently

pending.

   A. Litigation concerning Francisco Illarramendi

       21.    On March 26, 2018 the Court granted the Receiver’s motion for summary

judgment against Illarramendi, but ordered the Receiver to elect between entry of Count One or

Count Ten of the amended complaint. On April 5, 2018, the Receiver elected to pursue his claim

for Conversion under Count Ten and on April 25, 2018 the Court entered a judgment against

Illarramendi for $25,013,716.25, the full amount sought by the Receiver. Illarramendi appealed

the order granting summary judgment, an order denying his motion for a stay of proceedings and

the final judgment to the Second Circuit. Receiver’s counsel briefed the summary judgment

appeal on November 20, 2018. On July 30, 2019 the Second Circuit affirmed the district court’s

entry of judgment against Illarramendi. The Supreme Court denied Illarramendi’s petition for

certiorari on December 9, 2019.

       22.    On October 4, 2018, Illarramendi filed a motion requesting an order of

distribution to pay residual claim amounts of non-PDVSA class 4 claimants. This was the latest
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of multiple attempts by Illarramendi to undo the Distribution Plan ordered by the Court. On

October 30, 2018, the Receiver opposed Illarramendi’s motion and on June 4, 2019 the Court

denied Illarramendi’s motion.

   B. Receivership Tax Liabilities and Obligations

       23.     The Receiver’s counsel continued to assess the Receivership’s tax liabilities and

obligations. During the Compensation Period this included the timely filing of returns with

federal and state authorities as appropriate, the filing of Foreign Bank and Financial Accounts

Reports (FBAR) with the Internal Revenue Service and providing advice and counsel regarding

other tax related matters concerning the Receivership assets and the Receivership Entities.

   C. Private Equity Investments and Other Assets

       24.     As part of ongoing efforts to manage Receivership assets and private equity

investments of the Receivership, B&H reviewed and analyzed corporate documents for the

purpose of maintaining corporate formalities of the following United States Receivership

Entities: Highview Point Partners, LLC, Highview Point, LP, Michael Kenwood Capital

Management, LLC, Michael Kenwood Consulting LLC, Michael Kenwood Nuclear Energy,

LLC, MK Automotive, LLC, MK Energy and Infrastructure, LLC, MK Oil Ventures LLC, MK

Technology, LLC, MKCM Merger Sub, LLC, MKEI Solar, LP, MKG-Atlantic Investments,

LLC, MyTcart, LLC, The Michael Kenwood Group, LLC and TUOL, LLC. Specifically, the

corporate documents were reviewed and analyzed for the purpose of determining jurisdictions of

formation and to facilitate the orderly dissolution of certain entities. The Receiver’s counsel

worked with FTI to ensure that taxes and filing fees were timely paid for each of the foregoing

Receivership Entities.

       25.     Counsel for the Receiver, with assistance from H&J, the Receiver’s Cayman

counsel, also reviewed corporate documents for the purpose of maintaining corporate formalities

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and the good standing of the following Cayman Islands Receivership Entities: MK Special

Opportunities Fund Ltd., Highview Point Offshore, Ltd., MK Venezuela Fund Ltd., Highview

Point Master Fund, Ltd., Short Term Liquidity Fund I, Ltd., MK Investments, Ltd. and MK

Master Investments, L.P. Specifically, the corporate documents were reviewed and analyzed for

the purpose of ensuring compliance with Cayman Islands Monetary Authority Regulations and

placing certain Cayman Islands entities into “license under termination” status and ultimately for

the orderly dissolution of these entities. H&J provided assistance with these efforts and

interacted with the Cayman authorities as needed.

        26.    Counsel for the Receiver continued consultations with the Business Advisor to

value the Receivership’s remaining private equity investments and prospects for liquidation. The

remaining investments included Vetra, Nerveda and the remaining Cheyne fund. The Receiver

and Business Advisor continue to seek opportunities to liquidate these remaining assets.

        27.    After consultations with the Business Advisor, the Receiver filed a motion

seeking an order approving the sale of the Receivership Estate’s shares of Proterra, Inc. to Lake

Partners, LLC on June 8, 2018. On June 12, 2018 the Court granted the Receiver’s motion. On

June 18, 2018, Illarramendi filed a motion to vacate or stay the Court’s order, which the Receiver

opposed on June 26, 2018 and the Court denied on August 22, 2018.               The sale of the

Receivership Estate’s shares of Proterra, Inc. to Lake Partners, LLC closed on November 20,

2018.

        28.     For Vetra, the Receiver’s counsel worked with the Business Advisor to continue

monitoring the Receivership Estate’s interest and to consider possibilities for liquidating what

remains of those interests.




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        29.     For Nerveda, the Receiver’s counsel worked with the Business Advisor to track

investments made by Nerveda and continues to look for opportunities to liquidate the position.

In addition, the Receiver’s counsel worked with the Business Advisor to continue monitoring the

Cheyne position for opportunities to liquidate the illiquid portions that remain.

        D. U.S. Sanctions Against the Government of Venezuela and PDVSA

        30.     The Receiver has been advised that PDVSA, the national oil company of

Venezuela is currently subject to sanctions that may prohibit the distribution of funds. As the

Court is aware, PDVSA is the sole remaining claimant entitled to receive distributions pursuant

to the Distribution Plan. The Receiver’s counsel examined the issue and determined that the

Receiver would need to apply to OFAC for a license to make any future distributions to PDVSA.

The Receiver submitted an application for such a license during the Compensation Period. The

application is still pending.

        31.     Notwithstanding the foregoing, the Receiver and his team recognize that the

resources of the Receivership Estate are limited, and have thus sought to minimize the time spent

on the assignment without compromising their ability to properly discharge the Receiver’s duties

under the Receiver Order.

        32.     During the Compensation Period, FTI assisted the Receiver’s legal team in

preparing tax returns for the Receivership Estate, assisted the Business Advisor and Receiver’s

legal team in valuing Receivership Estate investments and the potential sale of these investments

and managed certain Receivership accounts.

        33.     During the Compensation Period, H&J ensured certain Cayman-registered

Receivership Entities were observing corporate formalities and maintained proper corporate

governance and compliance with Cayman law.              H&J has provided advice and counsel


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concerning the process for de-registering and liquidating certain Cayman-registered Receivership

Entities as part of the overall wind-down of the Receivership.

                            CASE STATUS - KEY FINANCIAL DATA

       34.     As of September 30, 2019, the Estate had on hand cash and/or cash equivalents

totaling $31,581,928, acquired through multiple litigation settlements, consolidation of

Receivership Entity bank accounts both domestically and abroad, redemption and sale of assets,

interest income, and collection of outstanding receivables.      These liquid assets represent a

majority of the Estate’s assets.

       35.     In the Compensation Period, the Receiver made disbursements of $1,273,338. The

Receiver paid professional fees and expenses in connection with the Tenth Fee Application.

                               FEES AND EXPENSES REQUESTED

       36.     In connection with the Compensation Period, the Receiver and B&H request

compensation for services in the amount of $186,471 and reimbursement of expenses in the

amount of $16,088.

       37.     In connection with the Compensation Period, FTI requests compensation for

services in the amount of $20,364.

       38.     In connection with the Compensation Period, H&J requests compensation for

services in the amount of $16,602 and reimbursement of expenses in the amount of $22.

       39.     These amounts reflect the hours worked by the Receiver and his attorneys,

accountants and legal assistants, and the hourly rates in effect at the time that the services were

rendered, as modified by the significant discounts provided by the Receiver, B&H, FTI and H&J,

and additional voluntary write-offs and discounts of attorney time. These amounts also take into

account all relevant circumstances and factors as set forth in the New York Lawyer’s Code of


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Professional Responsibility, where applicable, and the SEC Guidelines, including the nature of

the services performed, the amount of time spent, the experience and ability of the lawyers and

legal assistants working on this engagement, the novelty and complexity of the specific issues

involved, the time limitations imposed by the circumstances, and the responsibilities undertaken

by the Receiver and B&H under the Receiver Order and the Amended Receiver Orders.

        40.      Pursuant to the Receiver Order, the public service discount and additional fees

and write-offs as described in Paragraphs 9 through 14, the fees and costs of the Receiver and

B&H for the Compensation Period have been reduced by approximately $53,374.

        41.      The work described in this Application was performed primarily by a group of

approximately 6-8 B&H attorneys, who were assisted primarily by one legal assistant.5

        42.      As more fully discussed in Paragraphs 21 through 33, supra, a significant portion

of the professional fees in the Compensation Period relate to work done: 1) responding to

Illarramendi’s various motions and appeal; 2) monitoring the Receivership Estate’s investments

and assets and evaluating potential sales of those investments; and 3) tax related issues.

        43.      The Receiver, B&H, FTI and H&J submitted detailed invoices to the SEC for

their review and comment in September of 2019. The SEC has informed the Receiver orally that

they have no objection to this application and will be filing a response pursuant to the Court’s

Order dated January 16, 2014. (Dkt. No. 817.)

        44.      The Receiver and B&H have submitted ten previous fee applications in this case,

all of which were approved by this Court, subject to the agreed-upon holdbacks of both fees and

expenses. B&H has not received a retainer in this case.


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  The remainder of the timekeepers consist of B&H professionals and paraprofessionals working in specialized
capacities, such as employee benefits, international trade and information technology, who were consulted for a
limited purpose and who charged limited time to the Estate.


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        45.     As required by the SEC Guidelines, the Receiver, B&H professionals, FTI

professionals and H&J professionals recorded all services performed in time increments of one-

tenth of an hour. All services by B&H legal assistants and other paraprofessionals were

professional in nature.

        46.     In accordance with the SEC Guidelines, this Application does not seek payment

for time spent preparing the Application or any documentation in support.

          SUMMARY OF SERVICES RENDERED BY THE RECEIVER AND B&H,
            BY ACTIVITY CODE, DURING THE COMPENSATION PERIOD

        47.     Pursuant to the SEC Guidelines, B&H has segregated its time during the

Compensation Period into separate activity categories. Narrative summaries of these activity

categories are provided below.


         Asset Analysis and Recovery (01)                                AMOUNT: $59,441.

        48.     The activities in this category consist of efforts to identify, locate and recover

assets of the Receivership Estate and to recover, secure and prevent dissipation of those assets.

Specifically, the activities in this category include efforts taken by the Receiver, his counsel, and

his advisors to analyze the financial transactions between and among the Receivership Entities,

to litigate and resolve the asset recovery actions pending before Judge Underhill, and

investigations of and settlement discussions with individuals and entities that received potentially

fraudulent transfers from the Receivership Entities.       During the Compensation Period this

primarily involved responding to Illarramendi’s appeal of the Court’s entry of summary

judgment against him and responding to Illarramendi’s motion to alter the Receiver’s plan of

distribution.




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       49.     This category also included legal research and analysis to determine the

Receiver’s ability to make distributions to PDVSA in light of OFAC sanctions.

       50.     The fees associated with this activity category going forward will primarily be

limited to addressing any additional motion practice or appeals brought by Illarramendi or his

father. All the recovery actions commenced by the Receiver have now been concluded.


         Asset Disposition and Business Operations (02, 03)             AMOUNT: $81,373.

       51.     The activities in this category consist of efforts to evaluate, transfer and/or

liquidate the private equity investments of the Receivership Estate. Specifically, the activities in

this category include communications with investors, investment managers, representatives of

the private equity investments, and purported creditors to evaluate steps to maximize the value of

and monetize the private equity investments. For the Compensation Period, this includes time

spent finalizing the sale of Proterra, responding to Illarramendi’s opposition to the sale of

Proterra, liquidating the Cayman Island entities and monitoring the remaining private equity

investments.

       52.     This category also included legal research and analysis to determine the

Receiver’s ability to make distributions to PDVSA in light of OFAC sanctions.


         Case Administration (04)                                        AMOUNT: $5,847.

       53.     The activities in this category during the Compensation Period consist primarily

of administrative and procedural tasks such as management and tracking of dockets and filing

deadlines and preparation of documents for filing.




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         Claims Administration and Objection (05)                           AMOUNT: $544.

        54.     The activities in this category during the Compensation Period consist of analysis

of payment of the remaining claims.


         Employee Benefits/Pension (06)                                  AMOUNT: $11,439.

        55.     The activities in this category are related to the administration of the retirement

plans for HVPP and compliance with regulatory requirements regarding the same.


         Tax Issues (14)                                                 AMOUNT: $27,827.

        56.     The activities in this category consist of internal consultations and review with tax

professionals to review and comply with domestic and international tax requirements for

contemplated activities and transactions of the Receivership Estate and Receivership Entities.

This also included the filing of state and federal tax returns.

    SUMMARY OF SERVICES RENDERED BY FTI DURING THE COMPENSATION
                              PERIOD

         Business Operations (FTI Code 2)                                AMOUNT: $20,364.

        57.     The activities in this category consist of managing the operational aspects of the

Receivership Estate. This includes managing tax filings, banking and accounting operations,

ongoing private equity investments and Receivership filings. For this Compensation Period,

costs in this task code primarily relate to managing the remaining Receivership assets and efforts

to liquidate these assets.

    SUMMARY OF SERVICES RENDERED BY H&J DURING THE COMPENSATION
                              PERIOD

         Asset Analysis, Recovery and Disposition                        AMOUNT: $16,602.

        58.     Activities in this category include providing advice on Cayman Island-based legal

issues. The representation was not only limited to litigation advice but also included corporate

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legal advice pertaining to Cayman-registered Receivership Entities. Specifically, during the

Compensation Period, this category included management of the various Cayman-registered

Receivership Entities including compliance with periodic filing, fee and disclosure obligations.

                 EXPLANATION OF EXPENSES AND RELATED POLICIES

       59.     The Receiver and B&H seek reimbursement for their out-of-pocket costs in the

amount of $16,088.      Exhibit G sets forth the various categories of expenses for which

reimbursement is sought. In accordance with the SEC Guidelines, B&H charged its internal

photocopying expenses at a rate of $0.15 per page for black and white and $0.50 per page for

color copies. B&H made 26 black and white internal photocopies for a total of $2.60 and 1 color

copy for a total of $.50 during the Compensation Period at the above-listed rates.

       60.     B&H will retain the documentation supporting these expenses for a period of

seven years in accordance with the SEC Guidelines and will provide the SEC with copies upon

request.

       61.     H&J incurred out-of-pocket costs in the amount of $22. Exhibit H sets forth the

various categories of expenses that were incurred during the Compensation Period.                  In

accordance with the SEC Guidelines, H&J charged its internal photocopying expenses at a rate

of $0.15 per page for black and white and $0.50 per page for color copies. H&J will retain the

documentation supporting these expenses for a period of seven years in accordance with the SEC

Guidelines and will provide the SEC with copies upon request.

               THE REQUESTED COMPENSATION SHOULD BE ALLOWED

       62.     The Court has discretion to determine the Receiver’s compensation and the fees

and expenses of the Receiver’s professionals. In determining the reasonableness of fees and

expenses requested, the Court should consider the complexity of the problem faced, the benefit


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of the services to the Receivership Estate, the quality of the work performed and the time records

presented. SEC v. Fifth Ave. Coach Lines, Inc., 364 F. Supp. 1220, 1222 (S.D.N.Y. 1973); see

also SEC v. Elliott, 953 F.2d 1560, 1577 (11th Cir. 1992) (per curiam) (if a receiver reasonably

discharges his duties, the receiver is entitled to compensation; the circumstances surrounding the

receivership, including the results, are relevant).

       63.     Although case law provides guidelines and standards for determining

compensation requests, the unique facts and situations of the case make direct reliance on such

guidelines impossible. SEC v. W.L. Moody & Co., 374 F. Supp. 465, 485 (S.D. Tex. 1974),

aff’d, 519 F.2d 1087 (5th Cir. 1975).

       64.     As set forth supra, in the instant case, the Receiver, B&H, FTI and H&J

respectfully submit that the services for which they seek compensation in this Application were

necessary for, and beneficial to, the orderly administration of the Receivership Estate.

       65.     The issues addressed by the Receiver and B&H have been and continue to be

highly complex, requiring investigation of an alleged fraud that spanned many years, consisted

of thousands of poorly-documented transactions, and involved numerous offshore entities and

foreign financial institutions. During the Compensation Period the Receiver recovered additional

assets for distribution through the sale of the Proterra investment and the success of the

Receiver’s summary judgment motion against Illarramendi. In addition, the Receiver has taken

significant steps towards winding down and concluding the Receivership in an orderly fashion

and in a manner that serves the best interests of the Receivership Estate. We respectfully submit

that compensation for the foregoing services as requested is commensurate with the complexity,

importance and nature of the problems, issues or tasks involved. The cost to recovery ratio to

date, has been extremely favorable both in absolute terms and also when compared to other



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enforcement actions in which a receiver has been appointed. The professional services were

performed expediently and efficiently. Accordingly, the Receiver and B&H submit that the

compensation requested herein is reasonable and warranted in light of the nature, extent and

value of such service to the Receivership Estate and all parties in interest.

                        MOTION FOR RELEASE OF THE HOLDBACK

                          RELEVANT PROCEDURAL BACKGROUND

       66.      Under the Receiver Order the Court is permitted to apply a holdback of up to 20%

of fees to be released “at the discretion of the Court . . . at the close of the Receivership.” See

Receiver Order ¶ 67. A holdback has been applied to each interim fee application submitted by

the Receiver.

       67.      On December 17, 2014, upon consent of the SEC, the Receiver submitted a

motion for an order authorizing the immediate release of 70% of the holdback that was applied to

fees and expenses from February 3, 2011 through December 31, 2013. (ECF No. 948). On

December 22, 2014, the Court granted the motion (ECF No. 949) and authorized the aggregate

payment of $6,023,649 to B&H, FTI, and other retained professionals including H&J and Levin-

Epstein, Richardson, Fitzgerald & Pirrotti, PC.

       68.      On December 18, 2015, upon consent of the SEC, the Receiver submitted a

motion for an order authorizing the immediate release of 50% of the holdback that was applied to

fees and expenses from February 3, 2011 through September 30, 2014. (ECF No. 989). On

December 29, 2015, the Court granted the motion (ECF No. 990) and authorized the aggregate

payment of $1,795,087 to B&H, FTI, and other retained professionals including H&J and Levin-

Epstein, Richardson, Fitzgerald & Pirrotti, PC.




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         69.   On February 20, 2018, upon consent of the SEC, the Receiver submitted a motion

for an order authorizing the immediate release of 35% of the holdback applied to fees and

expenses of B&H and 36% of the holdback applied to fees and expenses of FTI from February 3,

2011 through December 31, 2016. (ECF No. 1119). On March 26, 2018, the Court granted the

motion (ECF No. 1126) and authorized the aggregate payment of $950,000 to B&H and FTI.

The Receiver has not sought permission to release any portion of the holdback since February

2018.

         70.   As of September 30, 2019, the Receiver has recovered approximately $445.5

million, while incurring (with FTI and H&J) approximately $51.3 million in actual professional

fees through September 30, 2019. Including estimated additional recoveries, the costs to date as

a percentage of overall recoveries are approximately 11% when all Retained Professionals’ fees

and expenses are combined.

                    RECEIVERSHIP DISTRIBUTIONS TO CLAIMAINTS

         71.   The Distribution Plan (ECF No. 905-1) approved by this Court’s Order dated

October 27, 2014 (ECF No. 941) proposed to fully satisfy Administrative, Tax and Convenience

Class Claims (Class 1, 2 & 3 respectively), distribute 92% of the Allowed Amount of General

Unsecured Claims (Class 4) and distribute an estimated 2% to 11% of the Allowed Amount of

in-kind contribution claims (Class 4A). The order approving the Plan was affirmed on appeal by

the Second Circuit. SEC v. Michael Kenwood Cap. Mgmt. LLC, 630 F. App’x 89 (2d Cir.

2015).

         72.   Since the approval of the Distribution Plan, the Receiver has distributed to

claimants more than $330 million. Claimants in Class 4, the largest pool of claimants, have




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received a 100% recovery on their approved claims. As discussed above, PDVSA, the sole

remaining claimant, is subject to U.S. sanctions preventing distributions at this time.

                                BASIS FOR RELIEF REQUESTED

       73.     The Receiver Order provides that the Court may, in its discretion, provide for

release of the holdback. See Receiver Order ¶¶ 63, 66, 67. As set forth herein, the Receiver’s

work is largely complete and it is appropriate for the Court to order the release of the remaining

holdback at this time.

       74.     The Receiver and the SEC have worked diligently throughout the Receivership to

address the Receiver’s prior fee applications. The Receiver and his retained professionals have

provided significant additional discounts to the Receivership Estate on a voluntary basis and in

response to items raised by the SEC. In connection with this holdback request, the Receiver,

B&H and FTI have conferred with the SEC and agreed to voluntarily reduce the remaining

holdback by 15% for a combined additional savings to the Receivership Estate of $303,434. The

Receiver respectfully submits that the voluntary reduction to the holdback along with the

significant reductions made throughout the course of the Receivership sufficiently address any

perceived inefficiencies for which the holdback is intended to guard against. The SEC has

consented to the release of 85% of the currently remaining holdback to both B&H and FTI in the

amounts of $924,164 and $795,296 respectively. The SEC has agreed to the release of 100% of

the currently-remaining holdback for fees and expenses incurred by H&J through June 30, 2018

in the amount of $2,668.

       75.     The SEC and Receiver have also agreed, subject to the Court’s approval, that a

holdback will not be applied to this fee application or future fee applications in light of the fact

that future work on Receivership matters will be limited as the Receivership winds down.


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                THE RECEIVER HAS ACHIEVED OUTSTANDING RESULTS

         76.   Since his appointment on February 3, 2011, the Receiver has recovered almost

$445.5 million in this matter, which has been characterized by the United States Attorney’s

Office as “a massive Ponzi scheme that has defrauded foreign investors of hundreds of millions

of dollars” and is believed to be “the largest white-collar prosecution ever brought” by federal

prosecutors in Connecticut.       Press Release, U.S. Attorney’s Office for the District of

Connecticut, Connecticut Hedge Fund Adviser Admits Running Massive Ponzi Scheme (Mar. 7,

2011).

         77.   The Receiver’s recovery to date has been the result of an extensive international

investigation, the continued management and liquidation of substantial domestic and offshore

assets and several pre- and post-litigation settlements.

         78.   As a result of the Receiver’s investigation and recovery efforts – which are

substantially complete – the Receiver has recovered sufficient assets to fully satisfy all

Administrative, Tax and Convenience Class Claims, distribute 100% of the Allowed Amount of

General Unsecured Claims and in the future distribute an estimated 2% to 11% of the Allowed

Amount of in-kind contribution claims. To date, the Receiver has distributed approximately

$330,004,844 to claimants.

     RELEASE OF THE CURRENTLY-REMAINING HOLDBACK IS REASONABLE
                 AND WILL HAVE NO EFFECT ON INVESTORS

         79.   In connection with each of the previous fee applications filed in this case, the

Court and the SEC have already found that fees and expenses were warranted and reasonable.

The SEC has conducted – and conducts, with each fee application – a detailed and rigorous

review of the Receiver’s fee applications and invoices. The total holdback amount currently

remaining less the 15% voluntary discount is as follows (Figure 1):

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                                                       B&H               FTI             Total

       Total Holdback Remaining                    s    1,087,252    s    935,642
       Less 15% \ "oluntarv Discount                     (163,088;       (140,346)
       Holdback Requested                          s      924,164    s    795,296

       Combined B&H and FTI \"oluntary Discount                                      s    (303,434)



                                       RELIEF REQUESTED

       The Receiver and B&H respectfully request that this Application be granted and that they

be allowed compensation for legal services rendered during the Compensation Period in the

amount of $186,471, and reimbursement of expenses in the amount of $16,088; that FTI be

allowed compensation for services rendered during the Compensation Period in the amount of

$20,364; and that H&J be allowed compensation for legal services rendered during the

Compensation Period in the amount of $16,602, and reimbursement of expenses in the amount of

$22.

       The Receiver and B&H also respectfully request that the Court release the remaining

holdback less the 15% voluntary discount.

       WHEREFORE, the Receiver and B&H respectfully request that an Order be entered:

       a) authorizing the Receivership Estate to pay B&H $186,471 for legal services and

$16,088, in expenses;

       b) authorizing the payment of $20,364 in fees to FTI;

       c) authorizing the payment of $16,602 in fees and $22 in expenses to H&J;

       d) authorizing release of holdback in the amount of $924,164 for B&H, $795,296 for FTI

and $2,668 for H&J;




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       e) that this fee application and any future fee applications submitted by the Receiver will

not be subject to a holdback; and

       f) such other and further relief as is necessary and proper.

Dated: New York, New York
       December 20, 2019

                                               By:      /s/ Jimmy Fokas
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